    Case: 1:17-md-02804-DAP Doc #: 5376 Filed: 03/28/24 1 of 3. PageID #: 633847




                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION


    IN RE: NATIONAL PRESCRIPTION                    MDL No. 2804
    OPIATE LITIGATION
                                                    Case No. 1:17-md-2804
    This document relates to:
                                                    JUDGE DAN AARON POLSTER
    All Cases Noted on Attached Appendix


                   THIRD MASTER STIPULATION AND ORDER
                    DISMISSING WITH PREJUDICE CLAIMS
          PURSUANT TO WALMART NATIONAL SETTLEMENT AGREEMENT

          IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned counsel

of record for the Plaintiff Subdivisions identified in Appendix A (collectively, the “Dismissing

Plaintiffs”) and Walmart Defendants1 that, pursuant to the election of each Dismissing Plaintiff to

participate in the Walmart Settlement Agreement, which is dated November 14, 2022, and is

binding on the Dismissing Plaintiffs and the Walmart Defendants (a copy of which is attached as

Appendix B), all claims of each Dismissing Plaintiff against any Walmart Defendant, including

any entity identified on the attached Appendix C, are hereby voluntarily DISMISSED WITH

PREJUDICE, with each party to bear its own costs. The Court shall retain jurisdiction with

respect to the Walmart Settlement Agreement to the extent provided under that Agreement.2



1
    The Released Entities are each and every entity of any of the Walmart Defendants that is a
“Released Entity” as set forth in Section I.DDD and Exhibit J of the Walmart Settlement
Agreement, dated as of November 14, 2022, a copy of which is attached as Appendix B. They
include, but are not limited to, the entities listed on Appendix C, also attached hereto. Appendix C
is not intended to limit the scope of Released Entities, and to the extent that Dismissing Plaintiffs
or Walmart Defendants subsequently identify any Released Entity that should have been included
on Appendix C, they will inform the Clerk of the Court.
2
    To the extent any Plaintiff Subdivision is inadvertently included on Appendix A, the Court
retains jurisdiction to hear those disputes. In advance of raising any such issue with the Court,
  Case: 1:17-md-02804-DAP Doc #: 5376 Filed: 03/28/24 2 of 3. PageID #: 633848




Dated: March 28, 2024                       Respectfully submitted,

Agreed as to form and substance:

                                            /s/Jayne Conroy
                                            Jayne Conroy
                                            SIMMONS HANLY CONROY
                                            112 Madison Avenue, 7th Floor
                                            New York, NY 10016
                                            (212) 784-6400
                                            (212) 213-5949 (fax)
                                            jconroy@simmonsfirm.com

                                            /s/Joseph F. Rice
                                            Joseph F. Rice
                                            MOTLEY RICE LLC
                                            28 Bridgeside Blvd.
                                            Mt. Pleasant, SC 29464
                                            (843) 216-9000
                                            (843) 216-9290 (Fax)
                                            jrice@motleyrice.com

                                            /s/Paul T. Farrell, Jr.
                                            Paul T. Farrell, Jr., Esq.
                                            FARRELL & FULLER LLC
                                            1311 Ponce de Leone Ave., Suite 202
                                            San Juan, PR 00907
                                            (304)654-8281
                                            paul@farrellfuller.com

                                            Plaintiffs’ Co-Lead Counsel


                                            /s/Peter H. Weinberger
                                            Peter H. Weinberger (0022076)
                                            SPANGENBERG SHIBLEY &LIBER
                                            1001 Lakeside Avenue East, Suite 1700
                                            Cleveland, OH 44114
                                            (216) 696-3232
                                            (216) 696-3924 (Fax)
                                            pweinberger@spanglaw.com

                                            Plaintiffs’ Liaison Counsel




the Plaintiff Subdivision must meet and confer with defense counsel and Plaintiffs’ Liaison
Counsel.


                                                2
  Case: 1:17-md-02804-DAP Doc #: 5376 Filed: 03/28/24 3 of 3. PageID #: 633849




Walmart

/s/ Tina M. Tabacchi
Tina M. Tabacchi
Tara A. Fumerton
JONES DAY
110 North Wacker Drive
Suite 4800
Chicago, IL 60606
Phone: (312) 782-3939
Fax: (312) 782-8585
E-mail: tmtabacchi@jonesday.com
E-mail: tfumerton@jonesday.com

Attorneys for Walmart Defendants



                                CERTIFICATE OF SERVICE

       I hereby certify that on March 28,2024, I electronically filed the foregoing with the Clerk
of Court by using the CM/ECF system. Copies will be served upon counsel of record by, and may
be obtained through, the Court CM/ECF system.



                                             /s/Peter H. Weinberger
                                             Peter H. Weinberger




SO ORDERED this 28th day of March, 2024.

 s/ Dan Aaron Polster
________________________________
Hon. Dan Aaron Polster
United States District Judge




                                                3
